Case 1:03-md-01570-GBD-SN Document 2022 Filed 08 AOC

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UNITED STATES DISTRICT COURT DAT py? oo
SOUTHERN DISTRICT OF NEW YORK Succ AU
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IN RE: TERRORIST ATTACKS ON ORDER
SEPTEMBER 11, 2001 03 MDL 1570 (GBD)
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This document relates to:
02 CV 6977 (GBD)!
03 CV 5738 (GBD)
03 CV 6978 (GBD)
03 CV 9849 (GBD)
04 CV 5970 (GBD)
04 CV 6105 (GBD)
04 CV 7279 (GBD)
04 CV 7280 (GBD)

GEORGE B. DANIELS, District Judge:

The Estate of defendant Mohammad Abdullah Aljomaih (also referred to as “Mohammed
bin Abdullah Al-Jomaith”) moved to dismiss the claims asserted against defendant, pursuant to
Fed.R.Civ.P. 25(a)(1), in all the complaints in which he was named. No opposition to the
motion has been filed, and the time in which to do so has expired.

If no opposition to the motion is filed within thirty (30) days of this Order, the motion
will be granted as to all the complaints in which defendant is named.

Dated: New York, New York
August 3, 2007 SO ORDERED:

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(/ GEORGE B. DANIELS
United States District Judge

' The docket sheet indicates that Mr. Aljomaih is named as a defendant in the Sixth
Amended Consolidated Master Complaint, filed in Ashton vy. Al Qaida, 02 CV 6977 (GBD) and
in the Second Amended Complaint, filed in Continental Cas. Co. v. Al Qaeda, 04 CV 5970
(GBD). In reviewing those complaints, however, it does not appear that Mr. Aljomaih is in fact
named as a defendant in those cases.

* Although the docket sheet reflects that plaintiffs voluntarily dismissed the complaint
against defendant, in Federal Ins. Co. v. Al Qaida, 03 CV 6978 (GBD), the Notice of Voluntary
Dismissal itself does not appear as a filed document.

